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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO


GREG BATES, Individually and as
Personal Representative of the Estate of
JEFF BATES, Deceased,

               Plaintiff,

v.                                                          CV 14-1130 MV/WPL

FORD MOTOR COMPANY, and
FRANK L. VITO,

               Defendants.


      ORDER ADOPTING MAGISTRATE JUDGE’S PROPOSED FINDINGS AND
                     RECOMMENDED DISPOSITION

       This matter is before the Court on the Magistrate Judge’s Proposed Findings and

Recommended Disposition (PFRD), filed March 26, 2015. (Doc. 20.) The parties were notified

that objections were due within fourteen days of service of the PFRD and that if no objections

were filed, no appellate review would be allowed. To this date, no objections have been filed.

       IT IS THEREFORE ORDERED that:

       1) the PFRD is adopted as an order of the Court;

       2) the case is remanded to the First Judicial District Court of the State of New Mexico.



                                                    _________________________________
                                                    UNITED STATES DISTRICT JUDGE
